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EXHIBIT E.

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A. I didn't understand the question.

Q. All right. As far as being able to identify
airplane wreckage underwater, you are self-taught,
correct?

A. Self-taught?

Q. Yes,
A. Yes.
QO. Do you feel that as far as being negligent,

both TIGHAR and Mr. Gillespie are equally negligent?

A. Yes.
Q. Who else do you feel was negligent?
A. The board of directors.

Q. Who else?

A I believe as far as responsibility, it would
stop there.

Q. And your fraud allegation, that goes to they
knew the plane was there, they knew that the 2010
video showed it, and they chose to lie, correct?

A. What do you mean, correct?

Qo. Is that a correct statement? Your theory is
that they lied about what's in the 2010 video,
correct?

A. That they failed to disclose that the
aircraft was shown in the 2010 video, yes.

Q. And when did you decide that was the case?

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A. I would say at the end of January 2013.

QO. And that was based on -- well, you said
2015. Do you mean 2013?

A. I said 2013.

Q. Okay. And what evidence do you have that
TIGHAR knew it had located or that -- try that again.

What evidence do you have that TIGHAR knew

that footage showed airplane parts?

A. Well, the video speaks for itself. The rope
is there by their own admission, the wire is there by

their own admission.

Q. Okay. My question is what -- what evidence
do you have? So you've told me the video. What
else?

A. The Cook photo.

Q. All right, what else?

A. That's enough.

Q. But there's nothing else that you have?

A No.

®. You don't have letters or emails where they

admit that they see it in that 2010 video.

A. I haven't seen all the letters and emails,
so I don't know.
\

Q. You don't have anything now, correct?

A, Huh?

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Q. You don't have anything now?

A. I don't. The discovery might have
something. I haven't reviewed all that,

QO. And no one has told you that they knew it

was there and they lied?

A, No.

Q. And if they knew it was there and they lied,
other people had to be involved in this, right?

A, No.

QO. So you believe the only people who knew --—

who Know it's there and lied are Mr. Gillespie and

TIGHAR.
A. That's not what I said.
QO. Okay.
A. You asked did other people have to know,

And I said no, they don't have to. They might know,
T don't know.

Qo. Do you have any evidence that anyone other
than Mr. Gillespie and TIGHAR knew the airplane was
shown in that video?

A. No.

Qo. You know that there's a lot of peaple who
have been involved in all of these expeditions,
right?

A. I assume there's quite a few. There is not

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fraud that Mr. Gillespie and TIGHAR committed?
A, I would say any donor who contributed with
the idea that the aircraft had not been found by --

by that time.

Qo. Corporate sponsors?

A. Yes.

Q. Discovery Channel?

A. Yes.

Q. How about the government of Kiribati?

A I have no idea what their relationship with

TIGHAR is. I know there is an agreement, but I
haven't seen it.

0. The Secretary of State?

A. What about her?

Q. Do you feel she was defrauded by TIGHAR and

Mr. Gillespie?

A. I would have to say yes.

Q. And --

A. And the Secretary of Transportation,
Mr. Hood ~- LaHood, Ray LaHood,.

(Pause in proceedings.)
BY MR. MASTERSON:
Q. Do you have any evidence of communication
between Mr. Gillespie and anyone with TIGHAR about

the -- that the aircraft was found and they hid it?

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A. Not specifically, no,

Q. Okay. How about generally?

A. Well, I did allude to various posts that he
made discouraging people from looking any further, so
that was to TIGHAR people,

Q. That's nothing direct that indicates he was
lying, is it?

A. I don't understand your question.

Q. You don't have anything that shows -- I'll
try again.

You don't have anything that directly shows

Mr. Gillespie lied to you.

A. Yes, the TIGHAR -- the content of the 2010
video.
2. And the Cook photograph.

mm

And the Cook photograph.
Q. Anything else?
A No.
Qa. How about TIGHAR, anything else other than
the 2010 footage and the Cook photograph?
A. As we discussed about the Bevington object.
Q. Okay. How does that prove that TIGHAR was
lying? It doesn't say that we're going to use the
Bevington object to cover this up, does it?

A. It implies that the Bevington object is part

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of an aircraft, the rest of which has not been found.
Because look at Mr. Neville's comments: It's a sign
post, it's a sign post. Well, maybe it is, maybe it
isn't.

Q. And you believe that shows TIGHAR was lying?
A, (Nodding head.)
O. Is that yes?
MR. STUBSON: Be sure to say "yes" or "no."
A. Yes.
BY MR. MASTERSON:
QO. Does that also go to Mr. Gillespie’s lies?
A. Yes.
Q. Okay, so that’s a new one. So we've got
2010 footage, right?
A. We already went over all three things.
Q. Well, I've been asking you what evidence you

have that TIGHAR and Mr. Gillespie lied to you. And
you gave me the 2010 footage, you gave me the Cook
photo, and that was it for awhile. Now you've

brought up the Bevington object.

A. No, we already talked about the Bevington
object.
Q. Okay.

A. Go back and look at the transcript.

Qo. Okay. And you believe that's direct

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evidence that they lied to you.

A. I believe it shows the deceit and effort to
raise funds for the expedition, yes.

0. And it's an intentional lie.

MR. STUBSON: Objection, asked and answered.

A. I don't think the evidence as presented is”
strong enough to imply that it's -- that object in
the photo is part of that aircraft.

BY MR. MASTERSON:

Q And to you that's part of the fraud?
A. Huh?

0 To you that's part of the fraud?

A Yes.

MR. MASTERSON: Let's go off the record for
just a minute.
(Discussion off the record. }
(Deposition proceedings recessed
11:30 a.m. and reconvened 12:33 p.m.,
March 31, 2014.3
BY MR. MASTERSON:
Q. We'll start up again.
Mr. Mellon, anything you need after lunch,
let us know. You know you're still under oath, so
we'll just keep going.

A. Okay.

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1 You deny that, and then you say: Before
2 making the donation TIGHAR provided a DVD of a
3 Discovery Channel show, et cetera, et. cetera.
4 We know TIGHAR provided you with a DVD and
5 all those materials, but the question was whether you
6 asked to see any of those things. So can you clarify
7 for me, did you ask to see them or did Mr. Gillespie

8 simply send them to you?

9 A. I think I probably asked for -- to see the
10 information on the radio messages, how to get to

11 them, because I didn't know. I didn't have any idea
12 how to navigate any forum, let alone that forum, at
13 that time.

14 Q. Okay. My question is, did you ask for

15 materials from TIGHAR or did Mr. Gillespie just send

16 them to you?

17 A. IT think he -- I think he just sent them to
18 me.

19 Q. Okay.

20 A. But I may have asked for other materials, I
21 don't remember.

22 QO. Ouestion 14: Admit that you have no

23 conclusive, physical proof that actual Barnhart

24 artifacts are underwater near Nikumaroro,

25 And your response was denied, you have film

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1 of underwater artifacts.
2 Is there anything else you have other than
3 the film?
4). A. The picture from Mr. Cook,
5 (Pause in proceedings.)
6 A. That would be it.
7 BY MR. MASTERSON:
8 Q. I'm sorry?
9 A. I think that would be it.
10 Qo. And do you consider that photographic
11 evidence to be conclusive?
12 A. I don't know. It hasn't -- it hasn't been
13 evaluated carefully by anyone I know, except
14 Mr. Glickman did evaluate it.
15 MR. STFUBSON: And just to clarify, are you
16 just talking about the Cook photo in that question?
17 MR. MASTERSON: No.
18 MR. STUBSON: You're talking about the
19 underwater footage or the photo?
20 BY MR. MASTERSON:
21 Q. Great point. Let me split it up.
22 The underwater footage, would you consider
23 that footage to be conclusive evidence?
24 A. Yes.
25 QO. The Cook photograph, would you consider that

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1 to be conclusive evidence?
2 A, Not yet.
3 QO. And so the 2010 video footage leaves no
4 doubt in your mind?
5 A. None.
6 QO. Which would mean, then, that you don't feel
7 any need to go back again and try to recover
8 anything? It's a dead horse, as far as you're
9 concerned?
10 MR. STUBSON: Object as to form.
11 A. Yeah, you'll have to restate that.
12 BY MR. MASTERSON:
13 QO. Well, I think you probably already answered
14 it.
15 Take a look at request 27. It on page 9%.
16 (Pause in proceedings.)
17 A. (Nodding head.)
18 BY MR. MASTERSON:
19 Q. That question is: Admit that you have no
20 documents, writings, or communication that TIGHAR hid
21 any findings from any expedition it, meaning TIGHAR,
22 has conducted.
23 : And you have denied -- qualified denial.
24 Defendants hid photos from Dr. Cook of underwater
25 features that they had acquired.

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